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                   Exhibit E
Business Search - Business Entities - Business Programs
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        Secretary of State                Administration        Elections    Business Programs        Political Reform


    Business Entities (BE)
                                             Business Entity Detail
    Online Services
     - Business Search                       Data is updated weekly and is current as of Friday, September 03,
     - Disclosure Search                     2010. It is not a complete or certified record of the entity.
     - E-File Statements
     - Mail Processing Times                                                        FIRESIDE CALIFORNIA GROUP,
                                                  Entity Name:
                                                                                    INC.
    Main Page                                     Entity Number:                    C2628563
    Service Options                               Date Filed:                       10/12/2004
    Name Availability                             Status:                           SUSPENDED
    Forms, Samples & Fees                         Jurisdiction:                     CALIFORNIA

    Annual/Biennial Statements                    Entity Address:                   4030A INTERNATIONAL BLVD

    Filing Tips                                   Entity City, State, Zip:          OAKLAND CA 94601

    Information Requests                          Agent for Service of
                                                                                    MARIO JUAREZ
     (certificates, copies &                      Process:
      status reports)                             Agent Address:                    4030A INTERNATIONAL BLVD
    Service of Process                            Agent City, State, Zip:           OAKLAND CA 94601
    FAQs
                                             * Indicates the information is not contained in the California Secretary
    Contact Information
                                             of State's database.
    Resources
                                                   If the status of the corporation is "Surrender," the agent for service
     - Business Resources
                                                   of process is automatically revoked. Please refer to California
     - Tax Information
                                                   Corporations Code section 2114 for information relating to service
     - Starting A Business
                                                   upon corporations that have surrendered.
     - International Business
                                                   For information on checking or reserving a name, refer to Name
       Relations Program
                                                   Availability.
                                                   For information on ordering certificates, copies of documents and/or
    Customer Alert
                                                   status reports or to request a more extensive search, refer to
    (misleading business
                                                   Information Requests.
     solicitations)
                                                   For help with searching an entity name, refer to Search Tips.
                                                   For descriptions of the various fields and status types, refer to Field
                                                   Descriptions and Status Definitions.

                                            Modify Search         New Search     Printer Friendly     Back to Search
                                           Results


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